          Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    CONRAD SMITH, et al.,

                         Plaintiffs,
                                                     Civil Action No. 1:21-cv-02265-APM
                 v.

    DONALD J. TRUMP, et al.,

                         Defendants.


                                JOINT CASE STATUS REPORT

         Pursuant to the Court’s instructions during the Status Conference held on May 4, 2023, and

the Minute Order that followed, Plaintiffs Conrad Smith, Danny McElroy, Byron Evans, Governor

Latson, Melissa Marshall, Michael Fortune, Jason DeRoche, and Reginald Cleveland (together,

“Plaintiffs”), and Defendants Donald J. Trump For President, Inc., Make America Great Again

PAC, and Brandon J. Straka1 submit this written Joint Case Status Report regarding the status of

discovery since May 4, 2023.2

         A.     Protective Order

         Plaintiffs and Defendants Donald J. Trump, Make America Great Again PAC, Donald J.

Trump For President, Inc., and Brandon J. Straka submitted a Joint Motion for a Protective Order




1
 Plaintiffs sent a draft of this report to all Defendants. Defendants Stop the Steal, LLC, Proud
Boys, Proud Boys International, LLC, Enrique Tarrio, Joseph Biggs, Felipe Antonio Martinez,
Derek Kinnison, Ethan Nordean, Erik Scott Warner, Alan Hostetter, Russell Taylor, Jessica
Watkins, Thomas E. Caldwell, Ronald Mele, Zachary Rehl, Kelly Meggs, Charles Donohoe,
Dominic J. Pezzola, Stewart Rhodes, and Oath Keepers did not contribute to this report.
2
 A brief statement of the case and the status of discovery prior to May 4, 2023, are set forth in the
Joint Case Status Report filed on April 28, 2023. ECF No. 217.
        Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 2 of 8




on May 26, 2023. ECF No. 222. The Court granted the motion on May 30, 2023, see June 1, 2023

Docket Order, and a signed copy was filed on the docket on June 7, 2023, ECF No. 223.

       B.      Party Discovery

               1.     Initial Disclosures

       The Court previously ordered that all outstanding initial disclosures be served on or before

May 18, 2023. See May 4, 2023 Minute Order. Initial disclosures from appearing Defendants

Meggs, Tarrio, Biggs, Hostetter, Martinez, Kinnison, Taylor, Nordean, and Warner, and non-ap-

pearing Defendants Rhodes, Watkins, Oath Keepers, Donohoe, Pezzola, Proud Boys, Proud Boys

International, LLC, and Stop the Steal, LLC, have not been served to date.

               2.     Plaintiffs’ Discovery Requests

       Pursuant to the Court’s May 4, 2023 Minute Order, Plaintiffs and Defendant Straka held a

meet and confer on May 10, 2023, concerning his responses and objections (“R&Os”) to Plaintiffs’

December 1, 2022 requests for production (“RFPs”). The parties exchanged letters on May 12,

2023, May 17, 2023, May 24, 2023, and emails on May 25, 2023, and they reached impasse on a

number of disputed issues. The parties jointly called Chambers on June 1, 2023. The Court held

a Discovery Dispute Hearing on June 8, 2023. Defendant Straka will serve revised R&Os and the

parties will continue to meet and confer.

       Following the Court’s May 4, 2023 Minute Order lifting the stay of discovery as to De-

fendant Nordean, Plaintiffs served RFPs on Defendant Nordean on May 11, 2023. Following a

meet and confer on June 8, 2023, Plaintiffs agreed to extend Defendant Nordean’s time to respond

to the RFPs until June 16, 2023.

       Plaintiffs met and conferred with Defendants Donald J. Trump For President, Inc. and

Make America Great Again PAC (the “Trump Entities”) on May 31, 2023, regarding the Trump

Entities’ April 20, 2023 supplemental R&Os to Plaintiffs’ RFPs. Plaintiffs believe they have

                                                2
         Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 3 of 8




resolved most current disputes. Plaintiffs have sent a letter to counsel confirming their understand-

ing and are awaiting confirmation from the Trump Entities. Plaintiffs served their first set of in-

terrogatories on the Trump Entities on June 8, 2023.

       Plaintiffs met and conferred with Defendant Meggs on May 8, 2023, and with Defendant

Caldwell on May 10, 2023, regarding discovery.

       On June 9, 2023, Defendant Rehl served R&Os to Plaintiffs’ April 4, 2023 RFPs.

       Plaintiffs have agreed to extend the time for Defendant Mele to respond to Plaintiffs’ April

4, 2023 RFPs until the end of his criminal trial. Plaintiffs have further agreed to extend the time

for Defendants Martinez and Kinnison to respond to Plaintiffs’ April 4, 2023 RFPs pending nego-

tiations over discovery.

       Defendants Tarrio, Biggs, Hostetter, Taylor, Warner, Rhodes, Watkins, Oath Keepers,

Donohoe, Pezzola, Proud Boys, Proud Boys International, LLC, and Stop the Steal, LLC have not

responded to Plaintiffs’ April 4, 2023 RFPs.

       Plaintiffs have filed applications to obtain criminal trial exhibits in United States v. Cua,

1:21-cr-00107-RDM, United States v. Egtvedt, 1:21-cr-00177-CRC, United States v. Nordean,

1:21-cr-00175-TJK, and United States v. Rhodes, 1:22-cr-00015-APM. As of June 13, 2023,

Plaintiffs’ applications have been granted in United States v. Cua, 1:21-cr-00107-RDM and United

States v. Egtvedt, 1:21-cr-00177-CRC.

               3.      Defendants’ Discovery Requests

       Defendant Straka served his first set of interrogatories on Plaintiffs on May 9, 2023. Plain-

tiffs served their R&Os on June 8, 2023. Defendant Straka served his first set of RFPs on Plaintiffs

on May 31, 2023. Plaintiffs will respond by June 30, 2023.

       The Trump Entities served their first RFPs and interrogatories on Plaintiffs on June 2, 2023.

Plaintiffs will respond by July 3, 2023.
                                                 3
            Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 4 of 8




        Defendant Rehl served his first set of interrogatories on Plaintiffs on June 9, 2023. Plain-

tiffs will respond by July 10, 2023.

        C.      Third-Party Discovery

        Plaintiffs served subpoenas on the following third parties on the following dates:

        •    Katrina Pierson: April 24, 2023

        •    Donald Trump, Jr.: March 29, 2023

        •    Kimberly Guilfoyle: March 30, 2023

        •    Ivanka Trump: March 30, 2023

        •    Jared Kushner: March 30, 2023

        •    Eric Trump: March 29, 2023

        •    Kylie Kremer: February 8, 2023

        •    Amy Kremer: February 8, 2023

        •    Women for America First: February 7, 2023

        •    Mark Meadows: May 1, 2023

        •    Jason Miller: June 1, 2023

        •    Gen. Keith Kellogg: June 1, 2023

        •    Cassidy Hutchinson: June 1, 2023

        •    Pasquele Anthony “Pat” Cipollone: June 1, 2023.

        Plaintiffs met and conferred with Donald Trump, Jr. and Eric Trump on May 31, 2023, and

agreed to the terms of production. Plaintiffs believe they have resolved most current disputes.

Plaintiffs have sent a letter to counsel confirming their understanding and are awaiting confirma-

tion.

        Ivanka Trump and Jared Kushner served R&Os on June 7, 2023. Plaintiffs have sent a

letter to counsel proposing narrowed categories for production and requesting a meet and confer.


                                                 4
           Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 5 of 8




       Lara Trump served R&Os on May 8, 2023.

       On May 2, 2023, Kylie and Amy Kremer informed Plaintiffs they would serve R&Os by

May 5, 2023 so that Plaintiffs could assess the adequacy of the Kremers’ productions to date. As

of June 13, 2023, however, the Kremers have not served any R&Os.

       On June 2, 2023, Mark Meadows served R&Os and informed Plaintiffs he would produce

some documents but requested that Plaintiffs first provide him a copy of the protective order.

Plaintiffs sent him the signed protective order on June 8, 2023, and asked that he provide revised

R&Os by June 22, 2023 indicating which requests he would produce responsive documents for.

       On June 1, 2023, Gen. Keith Kellogg requested a copy of the Amended Complaint before

responding to the subpoena. Plaintiffs provided him a copy of the Amended Complaint on June

1, 2023.

       Plaintiffs sent Kimberly Guilfoyle a letter on April 25, 2023 requesting R&Os.

       Plaintiffs emailed Katrina Pierson’s counsel on June 2, 2023 requesting R&Os.

       Plaintiffs have yet to hear back from the remaining subpoenaed third parties.




                                                5
         Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 6 of 8




Dated:    June 13, 2023            Respectfully submitted,

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                                         6
Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 7 of 8




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                               7
         Case 1:21-cv-02265-APM Document 225 Filed 06/13/23 Page 8 of 8




                                 CERTIFICATE OF SERVICE

       I certify that on June 13, 2023, I served a copy of the foregoing filing on all parties of

record by filing it with the Clerk of the Court through the CM/ECF system, which will provide

electronic notice to all attorneys of record. Plaintiffs are serving the remaining Defendants via

first class mail or other permitted means.

 Dated: June 13, 2023                                      /s/ Joshua S. Margolin
                                                             Joshua S. Margolin




                                               8
